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                          UNITED STATES DISTRICT COURT

                              DISTRICT OF CONNECTICUT



JOSEPH TANCREDI

         vs.                                          CASE NO. : 3:12CV312(MPS)

ALLIED INTERSTATE, INC.




                                        JUDGMENT

      This action having come on for consideration before the Honorable Michael P. Shea,

United States District Judge and,

      The Court having considered the full record of the case, including applicable principles

of law, and based on the plaintiff's acceptance of the defendant's offer of judgment, is

hereby directing the Clerk to close this case, it is therefore

      ORDERED and ADJUDGED that judgment is hereby entered in favor of the plaintiff in

the amount of $350.00, plus reasonable costs and attorneys' fees as recoverable by law and

allowed by the Court.


                                                            ROBIN D. TABORA, Clerk


                                                            By ________________________
                                                              Devorah Johnson
                                                              Deputy Clerk

EOD 7/2/13
